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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION



 KEITH STANSELL, et al.,

        Plaintiffs,

                v.                                      Case No. 09-CV-2308-RAL-MAP

 REVOLUTIONARY ARMED FORCES
 OF COLUMBIA, et al.,

        Defendants.
                                              /


                                     PROTECTIVE ORDER

        Based upon the Court’s consideration of this matter, including a Rule 45 Third-Party

 subpoena issued by plaintiffs in the above-referenced case, and the Unopposed Motion by the

 United States concerning that subpoena, it is hereby ordered that:

        1.      The Department of the Treasury’s Office of Foreign Assets Control (“OFAC”) is

 authorized, pursuant to the terms set forth herein, to disclose information responsive to the third-

 party subpoena (the “Subpoena”) issued by plaintiffs in the above-referenced case on September

 16, 2010.

        2.      All information produced in response to the Subpoena, and any portion thereof, is

 to be deemed confidential (“Confidential Information”), unless plaintiffs are otherwise advised

 by OFAC.
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        3.      Confidential Information may be used only for the purpose of attempting to

 collect upon the judgment entered in the above-captioned matter (“the Stansell Litigation”),

 pursuant to procedures authorized by law, and for no other purpose.

        4.      No person shall be permitted to have access to Confidential Information, nor shall

 any person be informed of the substance of the Confidential Information by any person permitted

 to have access thereto, except as provided in this Order, as otherwise agreed upon by the parties

 and OFAC in writing, or by order of the Court.

        5.      Confidential Information shall not be disclosed or distributed to any person or

 entity other than the following:

        a.      the attorneys for parties to the Stansell Litigation (including their paralegal,

                clerical, or other assistants) or in any proceedings incident to efforts to collect on

                the judgment entered therein who have a need therefor in connection with said

                proceedings;

        b.      the courts and their support personnel in the Stansell Litigation and in any

                proceedings incident to efforts to collect on the judgment entered therein;

        c.      persons and entities and their counsel served with writs of attachment or other

                legal process incident to efforts to collect on the judgment entered in the Stansell

                Litigation or those holding assets identified in the Confidential Information;

        d.      local or federal law enforcement personnel involved in any legal proceedings

                incident to efforts to collect on the judgment entered in the Stansell Litigation;
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        e.      any other person to whom disclosure is required in order to pursue proceedings

                incident to efforts to collect on the judgment entered in the Stansell Litigation,

                pursuant to procedures authorized by law.

        6.      To the extent that Confidential Information is disclosed to persons as described in

 subparagraphs 5(c)-(e), only those portions of the Confidential Information that are necessary for

 each specific proceeding incident to efforts to collect on the judgment or that relate to specific

 assets at issue shall be disclosed to such persons. All persons described in subparagraphs 5(a)-

 (e) above shall be provided with a copy of this Protective Order and restricted to using

 Confidential Information only for purposes directly related to the satisfaction of the judgment

 issued in the Stansell Litigation and not for any other litigation or proceeding or for any

 business, commercial, competitive, personal or other purpose. Photocopies of documents

 containing Confidential Information shall be made only to the extent necessary to facilitate the

 permitted use hereunder.

        7.      Confidential Information shall not be disclosed to any person or persons

 described under subparagraph 5(e) unless and until such person has been shown this Protective

 Order and has agreed in writing to be bound by its terms, by signing a copy of the attached

 Acknowledgment form. A copy of each executed Acknowledgment shall be kept by counsel for

 the party on behalf of which disclosure is made pursuant to subparagraph 5(e).

        8.      The termination of the Stansell Litigation or any proceeding incident to efforts to

 collect on the judgment entered in the Stansell Litigation shall not relieve any person or party

 provided Confidential Information of his, her, or its obligations under this Order.
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        9.      All Confidential Information that is filed with any court, and any pleadings,

 motions, exhibits, or other papers filed with the court, referencing or containing Confidential

 Information, shall be filed under seal and kept under seal until further order of the Court.

        10.     Within sixty (60) days of the resolution of the last proceeding incident to efforts

 to collect on the judgment entered in the Stansell Litigation by settlement or final judgment, and

 the termination of any appeals therefrom, all Confidential Information, and copies thereof, shall

 be promptly destroyed, provided that counsel may retain one complete set of any such materials

 that were presented in any form to the Court. Any such retained materials shall be placed in an

 envelope or envelopes marked “Confidential Information Subject to Protective Order,” and to

 which shall be attached a copy of this Order.

        11.     The provisions of this Order restricting the use and disclosure of Confidential

 Information shall not apply to documents or other information which were, are, or become public

 knowledge not in violation of this Order.

        12.     Entry of this Order constitutes only a determination that OFAC is authorized to

 disclose information as provided herein under the Trade Secrets Act. Entry of this Order does

 not constitute a determination as to any right, privilege, or immunity OFAC may have with

 respect to plaintiffs’ subpoena, or any objection(s) OFAC may have to plaintiffs’ subpoena.

 OFAC’s disclosure of information pursuant to this Order shall not constitute a waiver of any

 right, privilege, or immunity OFAC may have with respect to such information, nor does it

 constitute a determination by OFAC with respect to any legal rights that any party may have in

 any proceedings incident to efforts to collect on the judgment entered in the Stansell litigation.

        13.     Entry of this Order shall not prohibit the United States or any agency, department,

 officer, or employee thereof, from using or disclosing Confidential Information for any other
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 purposes authorized by law. Entry of this Order does not prohibit subsequent disclosure of

 Confidential Information directly to OFAC or to counsel for the United States.


               DONE AND ORDERED at Tampa, Florida, on October 8, 2010.


                                               s/Richard A. Lazzara
                                             RICHARD A. LAZZARA
                                             UNITED STATES DISTRICT JUDGE


        COPIES FURNISHED TO:
        Counsel of Record
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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


 KEITH STANSELL, et al.,

        Plaintiffs,
                                                         Case No. 09-CV-2308-RAL-MAP
                v.

 REVOLUTIONARY ARMED FORCES
 OF COLUMBIA, et al.,

        Defendants.
                                               /

                      ACKNOWLEDGMENT OF PROTECTIVE ORDER

       The undersigned hereby declares under penalty of perjury that he or she has read the

 Protective Order entered in the United States District Court for the Middle District of Florida in

 the above-captioned action, understands its terms, and agrees to be bound by each of those terms.

 Specifically, and without limitation, the undersigned agrees not to use or disclose any

 Confidential Information made available to him or her other than in strict compliance with the

 Order. The undersigned acknowledges that his or her duties under the Order shall survive

 termination of this case and are permanently binding and that failure to comply with the terms of

 the Order may result in the imposition of sanctions by the Court.



                                               [signature]

 DATED:
                                               [print name]
